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 8                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 9                                          AT TACOMA

10    UNITED STATES OF AMERICA,
11                   Plaintiff,
                                                                  Case No. CR05-5828FDB
12            v.
                                                                  ORDER DENYING DEFENDANT
13    BRIANA WATERS,                                              WATERS’ MOTION PURSUANT TO
                                                                  FED. R. CRIM. P. 29, 33, and 34
14                   Defendant.
15
            Defendant Waters moves pursuant to Fed. R. Crim. P 29(c) that the Court set aside the guilty
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     verdicts on Counts 5 and 7 and enter a judgment of acquittal as to those counts; also, Waters moves
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     that the Court enter a judgment of acquittal as to Counts 1, 4, and 6 on which the Jury could not
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     reach a unanimous verdict. Pursuant to Fed. R. Crim. P. 33, Waters also moves that the jury verdict
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     be set aside and a new trial ordered. Finally, Waters moves for arrest of judgment under Fed. R.
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     Crim. P. 34 for lack of jurisdiction, this case having been tried in the Tacoma rather than the Seattle
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     Division as required by Rules of this Court.
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             There is no showing that the evidence is insufficient to support a conviction, which is the
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     standard for an acquittal under Fed. R. Crim. P. 29(c)(1). On the contrary, the Court concludes that
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     the evidence to sustain the verdicts on Counts 5 and 7 was more than sufficient.
25

26   ORDER - 1
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 1          Similarly, the Court finds no evidence to support a conclusion that a new trial must be

 2   granted in the interest of justice. The record establishes sufficient and compelling evidence to

 3   support the convictions.

 4          Finally, the motion for arrest of judgment for lack of jurisdiction is plainly frivolous, as Local

 5   Criminal Rule 18 is not a jurisdictional rule, but one for a convenient division of the Court’s business.

 6   The Court has already rejected a motion to reassign this case to the Seattle courthouse. Moreover,

 7   under Rule 18, the matter was appropriately brought in Tacoma, because there was a conspiracy

 8   charge alleging that certain overt acts, including arsons occurred in Olympia, Washington, and

 9   Waters committed numerous acts in Olympia that aided and abetted the arson of the Center for

10   Urban Horticulture at the University of Washington in Seattle. For example, Waters’ attending

11   planning meetings in Olympia; allowing co-defendant Justin Solondz access to the garage in which

12   she lived in Olympia to build incendiary bombs for the arson; and arranging for the rental car to be

13   used in the arson through her cousin who lived in Olympia.

14          ACCORDINGLY, IT IS ORDERED: Waters’ Motion Pursuant to Fed. R. Crim. P. 29, 33,

15   and 34 [Dkt. # 376] is DENIED.

16          DATED this 28th day of March, 2008.

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                                            A
                                            FRANKLIN D. BURGESS
                                            UNITED STATES DISTRICT JUDGE
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26   ORDER - 2
